Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18




                 EXHIBIT K
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
Case 8-20-08052-ast   Doc 40-11   Filed 02/22/22   Entered 02/22/22 19:17:18
